82 F.3d 423
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.John ROMAN, Plaintiff-Appellant,v.UNITED STATES of America and Internal Revenue Service,Defendants-Appellees.
    No. 95-35809.
    United States Court of Appeals, Ninth Circuit.
    Submitted March 26, 1996.*Decided April 1, 1996.
    
      Before:  GOODWIN, WIGGINS and O'SCANNLAIN, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      We affirm for the reasons stated in the district court's Minute Order filed on June 19, 1995.  See Hansen v. United States, 7 F.3d 137, 138 (9th Cir.1993).
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4.   Roman's request for oral argument is denied
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    